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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA



UNITED STATES OF AMERICA                                                  CRIMINAL DOCKET

VERSUS                                                                                  No. 10-154

TRAVIS MCCABE                                                                         SECTION I


                                   ORDER AND REASONS

       Before the Court is a motion for new trial based upon newly discovered evidence filed by

defendant, Travis McCabe (“McCabe”). The government opposes the motion. On April 21,

2011, the Court held an evidentiary hearing with respect to McCabe’s motion. For the following

reasons, McCabe’s motion is GRANTED.

                                         BACKGROUND

       The Crimes Charged against McCabe

       This case concerns the shooting and burning of Henry Glover in the immediate aftermath

of Hurricane Katrina, the obstruction into a federal investigation of those crimes, and the

circumstances surrounding such events. As the jury determined, Henry Glover was shot and

killed by defendant, David Warren (“Warren”), on September 2, 2005. At the time of the

shooting, Warren was a New Orleans Police Department (“NOPD”) officer. Henry Glover’s

body was burned by Gregory McRae, another NOPD officer, in an effort to obstruct an

investigation into the shooting.

       The second superseding indictment charged McCabe, also an NOPD officer at the time of

the shooting, in counts 8, 10, and 11. McCabe was convicted with respect to all three counts.


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       Count 8 alleged that on or about December 2, 2005, McCabe, in relation to and in

contemplation of a matter within the jurisdiction of the FBI, knowingly altered, concealed,

covered up, falsified, and made entries in documents with intent to impede, obstruct, and

influence the investigation and proper administration of a matter within federal jurisdiction.

Specifically, count 8 charged that McCabe authored and submitted a false and misleading official

report with the intent to impede, obstruct, and influence the investigation of the September 2,

2005 shooting and burning of Henry Glover.

       Count 10 charged that on or about July 16, 2009, McCabe knowingly and willfully made

materially false statements and representations in a matter within the jurisdiction of the FBI

when he told FBI agents investigating the shooting and burning of Henry Glover that: (1) he, in

collaboration with Sergeant Purnella Simmons (“Simmons”), wrote and typed the incident report

that documented the September 2, 2005 shooting by Warren; (2) he and Simmons interviewed

Officer Linda Howard (“Howard”) before writing the incident report; and (3) the incident report

submitted to the NOPD was true and accurate. Count 10 further alleged that when McCabe

made such statements to the FBI he knew that: (1) he did not write the incident report in

collaboration with Sergeant Simmons; (2) he did not interview Officer Howard; and (3) the

incident report submitted to the NOPD was false and inaccurate.

       Count 11 charged that on or about July 31, 2009, McCabe knowingly made a material

declaration under oath in a proceeding before a grand jury of the United States. Specifically,

count 11 alleged that McCabe testified falsely that: (1) he, in collaboration with Simmons, wrote

the incident report which documented the September 2, 2005 shooting by Warren; (2) he

interviewed Howard before writing the report; (3) he did not connect the Warren shooting to the


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burned car on the Patterson Road Levee until it appeared in the newspaper; and (4) the incident

report submitted to the NOPD was true and accurate. Count 11 further alleged that when

McCabe made such statements he knew that: (1) he did not write an incident report in

collaboration with Simmons; (2) he did not interview Howard; (3) he had been aware, since 2005

(prior to any media reporting), that the Warren shooting and the burned car on the Patterson

Road Levee were connected; and (4) the incident report submitted to the NOPD was false and

inaccurate.

           The Government’s Case against McCabe

           At the heart of the government’s case against McCabe was a narrative, alleged to be

fraudulent, which the government introduced at trial (“narrative portion of government exhibit

34”). As the government has represented to the Court:

                McCabe was charged with substituting his own sanitized, fraudulent
                version of the two page narrative section of the December 2, 2005 police
                report concerning David Warren’s shooting of Henry Glover for the one
                prepared by Sergeant Purnella Simmons and submitting it as if it had
                been written by Simmons. The fraudulent version of the shooting
                exonerates Warren and omits the primary evidence against him,
                particularly the inculpatory statements of Warren partner, Linda Howard,
                as well as the so-called “bloody towel” that undercuts Warren’s claim
                that he did not think he hit anyone when he shot. Additionally, it
                contains a fictitious review of the incident by Lieuteneant [sic] Robert
                Italiano and Captain David Kirsch exonerating Warren for the shooting.

                In his defense regarding the fraudulent narrative, McCabe falsely
                claimed that he was merely assisting an incompetent colleague prepare
                the report. McCabe presented this false story under oath to the Grand
                Jury. McCabe also presented false information to FBI Special Agent
                Ashley Johnson, which interfered with the federal investigation of the
                death and burning of Henry Glover.1




1
    R. Doc. No. 464, pgs. 3-4.
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          In other words, the government contended at trial that Simmons authored an original

version of the report detailing Henry Glover’s shooting and that Simmons’ original version of the

report accurately detailed such shooting. The government argued that McCabe crafted his own

version of the report which omitted information detrimental to Warren. According to the

government, McCabe somehow substituted his version of the report for Simmons’ version of the

report.

          At trial, the government was unable to produce the “original” version of the report.

Instead, the government produced the narrative portion of government exhibit 34 and relied on

Simmons to describe to the jury the information that she had included in the original report.2

During the trial, Simmons conceded that in 2009 she was in possession of the second page of

McCabe’s allegedly fraudulent narrative report. However, Simmons could not explain how the

second page of such report came into her possession.

          The Newly Discovered Evidence

          On February 7, 2011, McCabe filed a motion for a new trial based upon newly

discovered evidence. The motion was supported by the affidavits of Warren and his trial

counsel.

          In his motion, McCabe asserts that it was only after the trial ended that he was informed

that Warren’s attorneys were in possession of a copy of a narrative report that Simmons

allegedly gave to Warren in December 2005 (“newly discovered narrative report”). Except for

three minor differences, the newly discovered narrative report and the narrative portion of




2
 Simmons admitted that she handwrote a shorter narrative contained on the “face sheets” attached to the narrative
portion of government exhibit 34.
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government exhibit 34 are identical in substance.3

         In his affidavit and at the evidentiary hearing, Warren maintained that Simmons gave him

the newly discovered narrative report in December 2005. Warren asserted that he gave such

report to his attorneys in May 2009. According to Warren, he did not explicitly bring such

report’s existence to the attention of his attorneys until late in the trial when it occurred to him

that there may have been a minor difference between government exhibit 34 and the report that

Simmons gave to him in December 2005.

         According to the affidavits of Warren’s counsel and their testimony at the evidentiary

hearing, although Warren’s lawyers briefly questioned Warren with respect to his assertion that

he had received a report from Simmons, they did not believe that the alleged existence of such

report was germane to Warren’s defense. Warren’s attorneys did not attempt to locate the report

during the trial.

         Following the trial, Warren’s attorneys did locate the report that Warren alleged he

received from Simmons in December 2005. At that time, Warren’s counsel notified McCabe’s

counsel of the existence of the newly discovered narrative report.

                                            LAW AND ANALYSIS

         Federal Rule of Criminal Procedure 33 provides that, “[u]pon the defendant's motion, the

court may vacate any judgment and grant a new trial if the interest of justice so requires.” A

motion based on newly discovered evidence is to be filed within 3 years after the verdict. Fed.
3
 The words “hurriedly start” appear in paragraph 3 of the newly discovered narrative report. In government exhibit
34, “hurriedly started” appears instead of “hurriedly start.” The words “Jefferson Parish Dispatcher” appear in the
last paragraph of the newly discovered narrative report. In government exhibit 34, “Jefferson Parish Sheriff Office
Dispatcher” appears in lieu of “Jefferson Parish Dispatcher.” Finally, the word “shoot” is used in the last paragraph
of the newly discovered narrative report. In government exhibit 34, the word “shot” appears instead of “shoot.”
There are other non-substantive differences between the reports such as the color of the paper on which they are
printed.

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R. Crim. P. 33(b). Motions for a new trial based upon newly discovered evidence are

“disfavored and reviewed with great caution.” United States v. Wall, 389 F.3d 457, 467 (5th Cir.

2004) (citations omitted). “Such relief is merited only if, inter alia, the evidence is such that it

would probably lead to an acquittal, . . . and would create a reasonable doubt that did not

otherwise exist.” United States v. Aponte-Vega, 230 F.3d 522, 525 (2nd Cir. 2000) (internal

quotation marks and citation omitted).

       Generally, there are five prerequisites that must be met to justify a new trial based upon

newly discovered evidence. Wall, 389 F.3d at 467. The defendant must prove that:

            (1) the evidence is newly discovered and was unknown to the defendant
            at the time of trial;

            (2) the failure to detect the evidence was not due to a lack of diligence by
            the defendant;

            (3) the evidence is not merely cumulative or impeaching;

            (4) the evidence is material; and

            (5) the evidence if introduced at a new trial would probably produce an
            acquittal.

Id. In the absence of any one of the elements, the motion fails. Id. The Court will in turn

address each element.

       The Evidence is Newly Discovered

       With respect to the limited issue of whether or not Simmons provided Warren with a

copy of the report in December 2005, the Court finds that Warren testified credibly during the

evidentiary hearing. Although Warren knew of the existence of the report, the Court finds

credible Warren’s testimony that he failed to notify anyone of the existence of the report until

close to the end of trial. The government correctly points to the fact that the Court, itself, found

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Warren not to be credible with respect to his involvement in the killing of Henry Glover.

However, the discovery of the critical piece of evidence at issue herein emanates from an off-

hand remark made by Warren during the trial. The Court does not lend credence to the assertion

that Warren’s observation was a calculated maneuver to assist McCabe with his defense.

       The Court further concludes that the version of the report brought to light by Warren is

newly discovered and that it was unknown to either McCabe, McCabe’s lawyers, or the

government at the time of trial. While Warren’s lawyers were in possession of the newly

discovered narrative report, Warren’s lawyers were consumed with defending Warren. They

owed McCabe no duty to communicate the significance of the newly discovered narrative report

to his defense. Furthermore, it is clear that Michael Ellis, Esq., who represented Warren,

received the report from Warren and, without assigning the report significance with respect to

Warren’s defense, placed the report in a file many months before trial. Accordingly, the failure

of Warren’s counsel to notify McCabe and his counsel of the existence of the newly discovered

narrative report does not impact the Court’s determination that the report is newly discovered as

to McCabe.

       With respect to the limited issue of whether McCabe knew that Warren was in possession

of the newly discovered narrative report, the Court finds that McCabe testified credibly with

respect to this issue during the evidentiary hearing. This determination is buttressed by common

sense. If McCabe had known about the newly discovered narrative report before or during trial,

he would have used it at trial in order to undermine the government’s case against him.

Knowing that the newly discovered narrative report existed, no reasonable person would wait

until after conviction to bring such report to the Court’s attention. It simply would have made no


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sense for McCabe and his counsel to sit on the newly discovered narrative report throughout the

trial in the hope that such report would secure a new trial in the event McCabe was convicted.4

This is especially so given the high bar that a convicted criminal defendant must hurdle in order

to secure a new trial based upon newly discovered evidence.5

         The Failure to Discover the Evidence was Not Because of a Lack of Due Diligence

         As discussed above, there is no credible indication whatsoever that McCabe or his

counsel knew before or during the trial that the newly discovered narrative report existed.6

Although the government argues that McCabe has failed to demonstrate that he acted with due

diligence with respect to the newly discovered narrative report because McCabe did not ask

Warren to produce any documents before trial, the government cites no authority for this

proposition. While McCabe’s counsel have not represented to the Court that they sought

documents from Warren, the Court has not been presented with any persuasive evidence or

argument that McCabe’s counsel had reason to request such.

         The Court notes that McCabe’s counsel did attempt to interview Simmons before trial,

but they never received a response from Simmons’ lawyer. Such efforts are indicative of the fact


4
 The Court also notes that McCabe’s initial motion for a new trial, which was denied, did not mention the newly
discovered evidence. It was only after the Court’s denial that such evidence was brought to this Court’s attention,
further supporting the Court’s conclusion that McCabe and his counsel were unaware of such evidence.
5
  During the evidentiary hearing, McCabe stated that he authored the newly discovered narrative report including the
typographical errors discussed in footnote 3 supra. In light of such statement, the government submitted a
supplemental brief to the Court in which it argues that the newly discovered narrative report is not newly discovered
as to McCabe. The Court rejects the government’s argument as it ignores the fact that the newly discovered
narrative report and the narrative portion of government exhibit 34 are identical in substance with the exception of
the typographical errors already discussed. It is unreasonable to think that any person would recall such minor
distinctions between documents almost five years after the documents were prepared.
6
  While Warren might possibly argue that his counsel should have made further inquiry into the substance of the
report (because the newly discovered narrative report corroborates Warren’s account of the shooting), the fact
remains that McCabe’s counsel was never made aware of the newly discovered narrative report’s existence.

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that McCabe’s counsel exercised due diligence when they attempted to acquire information

relative to McCabe’s defense from Simmons.7 Furthermore, the Court also had the opportunity

to observe McCabe’s counsel throughout the months prior to trial and during the four-week trial.

They left no stone unturned in defense of their client.

         The Evidence is Material

         The facts underlying each of the counts against McCabe are fundamentally intertwined

with the existence of the newly discovered narrative report. Indeed, the government has

acknowledged that, “the issue of whether the narrative was Simmons’ work product was one of

the most hotly contested and pivotal issues in the trial.”8 As such, evidence that Simmons’ gave

Warren a copy of the narrative report that is substantively indistinguishable from the narrative

portion of government exhibit 34 would have been material evidence that the narrative report

introduced at trial was, in fact, Simmons’ work product.

         The Evidence is Neither Cumulative nor Merely Impeaching

         First, the newly discovered narrative report is not cumulative because it provides proof of

a critical issue – the non-existence of a different version of the narrative report – in a manner not

addressed at trial. No evidence was adduced at trial to directly contradict Simmons’ assertion

that she had authored an “original report” that was substantively different from the narrative

portion of government exhibit 34. Further, the government was unable to produce Simmons’

“original” version of the report that McCabe allegedly falsified.

7
 Even if the Court accepted the argument that Simmons would have denied providing the report to Warren, the fact
remains that as to the due diligence prong of the new trial based upon newly discovered evidence test, McCabe’s
counsel did attempt to obtain information from Simmons.
8
  R. Doc. No. 486, pg. 4. Given such assertions on the government’s part, the Court does not credit the
government’s attempt to minimize the import of the newly discovered narrative report in other portions of its brief.
See, e.g., Id. at 7 (“In all likelihood, the ‘newly discovered’ evidence would have been a footnote, at best, had it been
introduced at trial.”).
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        Second, although the newly discovered narrative report may have impeachment value

with respect to Simmons, any such impeachment value does not diminish in any way the fact that

it has independent evidentiary value. If the jury had been presented with evidence that Simmons

gave Warren a copy of the narrative report in December 2005 that is substantively identical to

the report that the government claims McCabe fabricated, the jury could have certainly

concluded that McCabe never authored a “second, fraudulent” report. Simmons’ assertion that

two reports existed – her original report and the “second, fraudulent” report – would have been

directly contradicted. This conclusion results regardless of whether or not the newly discovered

narrative report is used to impeach Simmons. See United States v. Giraldi, 137 F.3d 139, at *3

(5th Cir. Feb. 4, 1998) (unpublished) (“Evidence that does not directly contradict the testimony

of a witness and is only relevant to the credibility of the witness is merely impeaching.”) (citing

United States v. Time, 21 F.3d 635, 642 (5th Cir. 1994)).

        The Evidence Would Probably Produce an Acquittal

        With respect to adjudicating a motion for new trial based upon newly discovered

evidence, the United States Court of Appeals for the Eighth Circuit has noted that, “[i]t is the job

of the district court, either on affidavits or after an evidentiary hearing . . . to decide whether the

newly discovered evidence is credible . . . and, if so, whether it would probably produce an

acquittal if a new trial were held.” United States v. Grey Bear, 116 F.3d 349, 350 (8th Cir.

1997); see also United States v. Lighty, 616 F.3d 321, 374 (4th Cir. 2010).

        Explaining the standard for determining whether credible evidence will probably produce

an acquittal, the United States Court of Appeals for the Third Circuit has stated:

                Having established that a district court is required to make a
                credibility determination as part of its probability-of-acquittal inquiry,

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               we next address the proper standard for making such a determination.
               [The defendant] suggests that a district court's focus should be on
               whether a jury probably would reach a different result upon hearing
               the new evidence. We agree. As the Eighth Circuit stated in United
               States v. Grey Bear, “[t]he real question we suppose, is not whether
               the district judge believed [the proffered testimony], but how likely
               the district judge thought a jury at a second trial would be to believe
               it.” 116 F.3d at 350. To make a determination under this standard, the
               district court cannot view the proffered testimony in a vacuum; it
               must weigh the testimony against all of the other evidence in the
               record, including the evidence already weighed and considered by the
               jury in the defendant's first trial. See United States v. Woolfolk, 197
               F.3d 900 (7th Cir. 1999) (“The judge[,] in determining credibility, . . .
               must look to all aspects of the witness including not only her
               testimony but the evidence presented at trial.”).

United States v. Kelly, 539 F.3d 172, 189 (3rd Cir. 2008) (some brackets added; footnote

omitted).

       As both defense counsel and the government conceded during oral argument, the

resolution of this motion primarily turns on whether Warren received the newly discovered

narrative report from Simmons. At the evidentiary hearing, Warren testified that he received the

report in early December 2005 from Simmons. Warren testified that Simmons gave him the

report early in the morning at the NOPD’s fourth district headquarters. He admitted that he and

Simmons were the only people in the room when she allegedly gave him the report. As such, no

witness can corroborate Warren’s account. Further, Warren acknowledged that he told no one

about receiving the report from Simmons until he told his lawyers about it toward the end of the

November 2010 trial.

       Simmons testified at the evidentiary hearing that she did not give Warren a copy of the

newly discovered narrative report. During trial, Simmons testified that she did not author the

narrative portion of government exhibit 34. Simmons testified at the evidentiary hearing that she


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also did not author the newly discovered narrative report.

       The Court is faced with a difficult credibility determination. On one hand, Warren is a

convicted felon. On the other hand, Simmons admitted to testifying falsely under oath before the

federal grand jury. Nevertheless, the Court finds, as previously stated, that Warren’s testimony

that he received the newly discovered narrative report from Simmons in December 2005 is

sufficiently credible and the first step of Grey Bear is satisfied.

       In its brief and at the evidentiary hearing, the government asserted that it believes that the

newly discovered narrative report is simply an earlier draft of McCabe’s fraudulent report that

McCabe gave to Warren. (The government provided no evidence tending to prove such.)

Assuming the government’s theory is correct, i.e., that McCabe authored the newly discovered

narrative report and that Warren is willing to lie on McCabe’s behalf, the Court finds it

exceedingly difficult to believe that McCabe and Warren would have waited until now to bring

the newly discovered narrative report to light and assert their fabricated story. As stated

previously, why not bring it up during the trial? Why not bring it up in connection with the first

motion for a new trial? Additionally, assuming that Warren did not receive the newly discovered

narrative report from either McCabe or Simmons, what sense does it make for Warren to

fortuitously assert that he received the report from Simmons? The only person it helps is

McCabe; there is no benefit to Warren.

       The Court also notes that McCabe did not become aware of the fact that the government

had focused its investigation on him until, at the earliest, his July 16, 2009 interview with an FBI

agent and a government prosecutor at the Whole Foods Store in New Orleans. When Warren

delivered the newly discovered narrative report to his attorney in May 2009, Warren could not


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have known that the contents of the newly discovered narrative report and the fact that Warren

received it from Simmons would have been critical to the government’s case against McCabe.

       The Court’s determination that the newly discovered evidence is credible is further

supported by the fact that Simmons’ credibility at trial was a significant jury issue. This is not a

case where there was a plethora of evidence supporting Simmons’ claims. To the contrary, in the

Court’s estimation, the government’s case presented against McCabe at trial was a close one.

       The Court also notes that Simmons did not state during her trial testimony that one of the

differences between her report and the narrative portion of government exhibit 34 is that her

report had a border around it. The fact that Simmons’ original report allegedly had a border was

a critical fact stated in her affidavit in connection with the government’s response to McCabe’s

motion for a new trial based upon newly discovered evidence. The absence of any mention of

such a difference at trial also calls Simmons’ testimony into question.

       At the end of the day, the Court must determine whether the newly discovered evidence

“would probably lead to an acquittal, . . . and would create a reasonable doubt that did not

otherwise exist.” United States v. Aponte-Vega, 230 F.3d 522, 525 (2nd Cir. 2000) (internal

quotation marks and citation omitted). The Court concludes that the newly discovered narrative

report and the testimony relating to it, if presented to a jury, would probably produce a jury

acquittal with respect to all of the charges against McCabe. As previously mentioned, Simmons

acknowledged at trial that she was in possession of the second page of that version of the report

alleged to be false and that she was unable to explain how she came into possession of such.

There is now credible evidence that Simmons provided a report that is substantively

indistinguishable from the narrative portion of government exhibit 34 to Warren in December


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2005. As such, the existence of the newly discovered narrative report would radically alter the

landscape of the government’s case against McCabe.

           With respect to the obstruction charge,9 which is premised on the government’s theory

that McCabe substituted a fraudulent report in an attempt to obstruct justice, such theory is

significantly undercut by the newly discovered narrative report. The newly discovered narrative

report indicates that, in substantive terms, only one report was ever produced.

           Finally, the false statement10 and perjury11 charges against McCabe pertain to statements

that he allegedly made relative to the accuracy of the report, the preparation of the report, and

whether he knew of a connection between the shooting and the burned vehicle at the time the

report was written.12 Were the jury to conclude that there never were two substantively different

versions of the narrative report13 and that the version of events given by Simmons regarding the

preparation of the report was false, a jury would probably resolve, in McCabe’s favor, the

conflicting testimony about whether he assisted Simmons in preparing the report, whether he

interviewed Howard, whether he believed the report was true and accurate, and when he learned

of the connection between the shooting and the burning of the vehicle.14


9
    Count 8 of the second superseding indictment.
10
     Count 10 of the second superseding indictment.
11
     Count 11 of the second superseding indictment.
12
   Whether McCabe did or did not connect the Warren shooting to the burned car on the Patterson Road Levee until
it appeared in the newspaper pertains only to the perjury count. Otherwise, the false statements alleged against
McCabe in count 10 and the false material declarations alleged against McCabe in count 11 are the same.
13
  To the extent that there are minor discrepancies between the narrative portion of government exhibit 34 and the
newly discovered narrative report, the jury can evaluate the sources of such discrepancies at trial.

14
  Additionally, with respect to the false statement and perjury counts, the Court has no way of knowing which of the
alleged false statements and false material declarations served as a basis for the jury’s conviction. The jury did not
render any special findings.
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        Government exhibit 34 was of singular importance to the government’s case against

McCabe15; the newly discovered evidence casts grave doubt on the criminal conviction that the

government secured against him. The Court finds that had the jury been presented with the

newly discovered narrative report which is substantively indistinguishable from the narrative

portion of government exhibit 34, it is probable that the jury would have had a reasonable doubt

as to the crimes alleged against McCabe and that it would have acquitted him. Nevertheless, the

Court notes that this conclusion is based upon the Court’s own credibility determinations with

respect to the witnesses who testified at the evidentiary hearing. In the event that another jury

faced with this new evidence finds Warren and McCabe not to be credible and once again

convicts McCabe, the Court will then sentence McCabe on the basis of that conviction.

                                              CONCLUSION

        The interest of justice requires granting McCabe a new trial. In doing so, the Court notes

that it is no way second guessing the verdict reached by a conscientious and deliberative jury.

Indeed, on December 21, 2010, before the newly discovered narrative report was uncovered,

McCabe filed a motion for acquittal or for a new trial in which he argued that the evidence

presented at trial was insufficient for the jury to have convicted him. Respecting the jury’s

verdict and refusing to Monday morning quarterback the jury’s evaluation of the evidence

presented during the trial, the Court summarily denied McCabe’s motion. However, because the

newly discovered narrative report was not presented to the Court until almost two months after

the jury concluded its deliberations, the jury was not given any opportunity to evaluate this

critical new evidence relative to all of the charges against McCabe. As this Court instructed the


15
  At the evidentiary hearing, the government stated that government exhibit 34 was mentioned over 700 times
during the trial.
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jury prior to its deliberations, there are no winners or losers here. Only justice prevails.

       Accordingly, IT IS ORDERED that McCabe’s motion for a new trial based upon newly

discovered evidence is GRANTED and that McCabe’s convictions with respect to counts 8, 10,

and 11 of the second superseding indictment are VACATED. The Court shall hold a scheduling

conference at which time new pretrial and trial dates shall be set.
                                       4th 2011.
       New Orleans, Louisiana, May ________,



                                                        ___________________________________
                                                                 LANCE M. AFRICK
                                                         UNITED STATES DISTRICT JUDGE




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